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PROCEEDING HEARING DATES 4th Circuit
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Closing Argument (Defendant)

Opinion of Court

Jury Instructions

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U.S. COURT OF APPEALS FOR THE FOURTH CIRCUIT
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11/13/08 THU 15:21 [TX/RX NO 6947] [jo02
rptT0057ManthlyPendingAppellateTS(TPending)

Run Date: 10/21/2008

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Court Reporter: Sharon Mech-O'Nelll
Court District : Maryland

Court Coordinator: Kathy Chiarizia, Nadine Mercer, Stephanie Savoy
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DOCKET NO.: 08-4647 US v. Israel Ramos-Cruz
DISTRICT COURT NUMBER: 8:08-cr-00393-DKC_1

DEADLINE:Transcript Due ORDERED:07/17/2008

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POCKET 'NO.: 07-4062 US v. Lanora N. Ali
DISTRICT COURT NUMBER: &04-er-00235- RWT

DEADLINE: Transéript Oue ORDERED.09/19/2008

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DUE: 10/27/2008

DOCKET NO.: 07-4080 US v. Derrek L, Bynum
DISTRICT COURT NUMBER; 8:04-cr-00235-RWT

DEADLINE: Transcript Due ORDERED:-09/19/2008

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DUE: 10/27/2008

DOCKET NO.: 07-4115 US v. LaVon Dobie
DISTRICT COURT NUMBER: 8:04-cr-00235-RWT

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DUE: 10/27/2008

DOCKET NO.;: 07-4060 US v. Paulette Martin
DISTRICT COURT NUMBER; 3:04-cr-00225-RWT

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DOCKET NO.: 07-4059 US v. Learlay R. Goodwin
DISTRICT COURT NUMBER: 8:04-cr-00235-RWT

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DOCKET NO.: 07-4063 US v. Reese C. Whiting
DISTRICT COURT NUMBER: 8:04-cr-00235-RWT

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DOCKET NO.; 07-4059 US v. Leariey R. Goodwin
DISTRICT COURT NUMBER: 8:04-cr-00235-RWT
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DOCKET NO.: 07-4063 US v. Reece C. Whiting
DISTRICT COURT NUMBER: 8:04-cr-00235-RWT
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DUE: 10/31/2008

DOCKET NO.: 07-4115 US v. La¥Von Dobie
DISTRICT COURT NUMBER: 8:04-er-00235-RWT

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DOCKET NO.: 67-4060 US v. Paulette Martin
DISTRICT COURT NUMBER: 8:04-cr-00235-RWT

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DOGKET NO.: 07-4062 US v, Lanora N. Ali

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DOCKET NO: 08-4813 US v. Dessie Nelson

DISTRICT COURT NUMBER; 8:07-er-00451-DKC-1

DEADLINE: Transcript Due ORDERED:10/16/2008 DUE: 11/24/2008
DOCKET NO.: 08-4911 US v. Patricia Omondi

DISTRICT COURT NUMBER: 8:07-cr-00197-DKC-1

DEADLINE: Transcript Due ORDERED: 10/20/2008 DUE: 12/19/2008

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